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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                                    Crim. Action No. 22-186 (TJK)

 RALPH JOSEPH CELENTANO III,

                          Defendant.



      DEFENSE OPPOSITION TO THE UNITED STATES’ MOTION IN LIMINE TO
             PRECLUDE SELF DEFENSE OR DEFENSE OF OTHERS

       The Defendant, Ralph Celentano, through counsel, moves the Court to deny the

government’s motion to preclude Mr. Celentano from raising a claim of self-defense or defense

of others as premature.

       The Federal Rules of Criminal Procedure require defendants to provide notice of certain

defenses “within the time provided for filing a pretrial motion,” but self-defense or defense of

others is not among them. See Fed Rs. Crim. P. 12.1, 12,2, 12.3. Nothing in the law requires Mr.

Celentano to preview his theory of defense in advance of trial and the government offers no

argument for why the defense should be compelled by this Court to do so.

       As the Honorable Amit P. Mehta stated in an Order denying the government’s motion to

preclude the defense from raising self-defense or defense of others in United States v. Thomas

Webster, “whether self-defense is available pretrial ‘as a matter of law’ is not the correct inquiry.

The question is whether Defendant would be entitled to a self-defense instruction at the close of

the case.” ECF 21-cr-208, No. 75, p. 3. Judge Mehta correctly found that the Court could not

determine pretrial what evidence presented at trial would support, “whether weakly or

otherwise,” a claim of self-defense or defense of others. Id. And, in denying the government’s



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motion stated, “the court will not, at this stage, foreclose a self-defense defense based solely on

the government’s view of the evidence.” Id. See also United States v. Patrick Edward

McCaughey, III, et al., ECF 21-cr-040, No. 410, p.4 (denying the government’s motion to

preclude a self-defense theory in advance of trial as premature).

       For the forgoing reasons, Mr. Celentano requests that the Court deny the government’s

motion to preclude Mr. Celentano from raising a claim of self-defense or defense of others as

premature.




                                                      Respectfully submitted,


                                                      /s/_____________________________
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